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AO 247 (Rev. Il/Il) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)              Page 1 of 2 (Page 2 Not for Public Disclosure)



                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Middle District of Alabama

                    United States of America
                                   V.                                       )
                 BERNETTA LASHAY WILLIS                                     )   Case No: 2:06cr71-MEF-01
                                                                            )
                                                                            )   USM No: 11880-002
Date of Original Judgment:                            01/17/2008            )
Date of Previous Amended Judgment:                                          )   N/A
(Use Date of Last Amended Judgment ifAny)                                       Defendant's Attorney

                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of LI the defendant          the Director of the Bureau of Prisons W1 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           UDENIED. Z GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of 516                 months is reduced to 505
                                              (Complete Parts I and II of Page 2 when motion is granted)


      Sentence consists of 97 months on counts lss-6ss, Bss, 9ss, 15ss, 16ss, 18ss-21ss, 23ss, 24ss,
      27ss, 29ss, and 31ss, concurrently; followed by a consecutive sentence of 34 years (2 years on
      counts 25ss, 7 years on Count 28ss, and 25 years on count 30ss) for a total term of 505 months.




Except as otherwise provided, all provisions of the judgment dated                          01/17/2008                  shall remain in effect.
IT IS SO ORDERED.

Order Date:
                                                                                                                      signature
                                                                                      7i^                1 119   -1
Effective Date:                                                                     Mark E. Fuller, United States District Judge
                     (if different from order date)                                                    Printed name and title
